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                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA

                                 CIVIL MINUTES – GENERAL

Case No.        2:21-cv-07095-RAO                                           Date October 13, 2021
Title           Pulse Sports, LLC v. Jayefo Sports LLC



Present: The Honorable:        Rozella A. Oliver, United States Magistrate Judge


                Donnamarie Luengo                                           N/A
                  Deputy Clerk                                    Court Recorder / Tape No.

        Attorneys Present for Plaintiffs:                   Attorneys Present for Defendants:
                     N/A                                                  N/A


Proceedings: (IN CHAMBERS)             ORDER TO SHOW CAUSE

        This action was filed on September 2, 2021 by Pulse Sports, LLC (“Plaintiff) against
Jayefo Sports, LLC (“Defendant”). On October 8, 2021 Defendant filed a Stipulation extending
time to answer. Plaintiff has not yet filed the required proof of service of the Summons and
Complaint (See L.R. 73-2.2).

      The Court will consider the filing of the following, as an appropriate response to this
OSC, on or before October 20, 2021:

                 Proof of service of summons and complaint.


        In accordance with Rule 78 of the Federal Rules of Civil procedures and Local Rule 7-15,
no oral argument of this matter will be heard unless ordered by the Court. The Order will stand
submitted upon the filing of the response to the Order to Show Cause. Failure to respond to the
Court’s Order may result in the dismissal of the action.

        IT IS SO ORDERED.




                                                                                                   :
                                                                    Initials of Preparer   dl



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